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 I   JON Y. VANDERPOO~ ESQ. (SBN 161611)
     JON CADIEUX,,_,ESO. (SBN 265155)
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 6   RASEAN JOHNSON
 7

 8
                               . UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
IO
11
     RASEAN JOHNSON, an individual, )         CASE NO. '17CV410 L          NLS
12                                  )
13                   Plaintiff,     )          COMPLAINT FOR DAMAGES
                                    )          FOR:
14                                  )
        v.
15                                  )          (1)   Religious Discrimination
     CITY OF SAN DIEGO; and DOES 1)            (2)   Hostile Work Environment
16                                             (3)   Retaliation
     through 5, inclusive,          )
17                                  )
                     Defendants.    )         DEMAND FOR JURY TRIAL
18
     ~~~~~~~~~~~-)
19

20                               PARTIES & CLAIMS OVERVIEW
21         1.     Plaintiff Rasean Johnson ("Johnson") is a life-long resident of San Dieg
22   County and a third-generation San Diego City employee. Initially hired as a Record
23   Stock Clerk in the City's Downtown Government Administration Building in Septembe
24   2004, Johnson's hard-work and consistently strong job performance quickly propelle
25   him to a Supervisor position in the City Clerk's Office.     But, after he resisted an
26   reported Deputy Director Shelia Beale's efforts to inject her personal religious belief:
27   into the workplace, the City removed his Supervisor job-title, transferred him to th
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 I   Public Utilities Department, and assigned him to the City's Chollas Operations Yard in
 2   Southeast San Diego, an objectively less-desirable work environment.
 3         2.     Defendant City of San Diego ("City" or "the City") is a municipal entity
 4   established by Charter, pursuant to the California Constitution, Article XI, § 3.         It
 5   employs more than 19,000 individuals, organized into approximately 32 Departments,
 6   and is an "employer" as defined by 42 USC§ 2000e(b).
 7                                            VENUE
 8         3.     Because the Defendant is the City of San Diego, and the acts giving rise to
 9   Johnson's claims arose in San Diego County, this judicial District is the proper venue
10   under 28 U.S.C. § 139l(b)(l)-(3).
11                                       JURISDICTION
12         4.      Johnson's claims arise from Defendant's violation of Federal law, including
13   Title VII of the Civil Rights Act. Accordingly, this Court has original jurisdiction to hear
14   this case under 28 U.S.C. § 1331.
15         5.     Prior to filing this action, Johnson exhausted his administrative remedies,
16   submitting a grievance to the City of San Diego's Equal Employment Investigations
17   Office on September 9, 2015, in accordance with his union's collective bargaining
18   agreement. The grievance alleged Johnson's supervisor, Deputy Director Sheila Beale,
19   harassed and discriminated against him on the basis of religion, and that her conduct
20   created a hostile working environment. The City's ensuing six-month-long investigation
21   revealed "sufficient evidence" in support of Johnson's complaint.                The City
22   communicated this to Johnson in a letter dated March 28, 2016. It is not known who
23   investigators interviewed or what other actions were undertaken as part of the months-
24   long investigation.
25         6.     Despite sustaining Johnson's internal complaint/grievance, the City did not
26   take any disciplinary or other remedial action against Beale. Instead, the City reassigned
27   Johnson from the City Clerk's Office to an objectively less-desirable position in the
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     Public Utilities Department, resulting in diminished promotional opportunities and harm
 2   to his professional reputation, among other deleterious repercussions.
 3          7.       Dissatisfied with the City's response to its own investigatory findings,
 4   Johnson filed a charge of discrimination with the Equal Employment Opportunity
 5   Commission ("EEOC") on June 10, 2016. Johnson requested an immediate right-to-sue
 6   notice on January 17, 2017, which the EEOC is required to issue pursuant to 29 CFR
 7   1601.28(a)(l). EEOC Director Chris Green approved the request on January 25, 2017,
 8   instructing the Department of Justice to issue a right-to-sue notice. Johnson has thus
 9   fully exhausted his administrative remedies.
10                                   GENERAL ALLEGATIONS
11         8.        Johnson commenced his City employment with the City in September 2004
12   as a Records Stock Clerk in the City Records Management Department.               A third-
13   generation City employee, Johnson was proud to follow in the footsteps of his two
14   uncles, three cousins, great-uncle, and great-grandfather, who dutifully served the City
15   for 32 years.
16         9.        The Records Management Department supports the City Clerk and is
17   responsible for keeping, handling, and maintaining official City records, which it has
18   done for more than 100 years, as required by the City Charter and Municipal Code.
19         10.       Based on Johnson's strong and consistent job performance, the City quickly
20   promoted him from Records Clerk to Records Center Administrator in December 2005.
21   Around this same time, the City hired Shelia Beale as Records Analyst, a position similar
22   to Johnson's. Both reported to the then-Deputy Director, Kathryn Joy.
23         11.       Johnson respected Beale's enthusiasm and they worked collaboratively on
24   several major projects, helping make public documents more easily accessible and
25   improving the efficiency with which records are archived and retrieved.        His efforts
26   earned him a promotion to Records Supervisor in 2007, which included oversight of the
27   City Clerk's Imaging Center. But fostering cooperation between himself and Beale grew
28   increasingly difficult amidst her consistently inappropriate comments about religion.

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 I          12. A devout and very demonstrative Christian, Beale routinely injected her
 2   religious beliefs into the workplace.      In Fall 2008, California voters faced a ballot-
 3   initiative aimed at preventing same-sex marriage, commonly known as "Prop 8." After
 4   raising this controversial topic in the office, Beale asked Johnson if he thought it was
 5   "okay if gays marry."       When Johnson replied that he had no problem with people
 6   marrying whomever they want, Beale told him he was "not a child of God." Another
 7   employee overheard this exchange and reported it to Deputy Director Joy. She convened
 8   a 'counseling session' with Beale and Johnson, directed Beale to apologize, and told her
 9   that it was inappropriate to make such comments at work.
10         13. Kathryn Joy retired from her position as Deputy Director April of 2011. The
11   City selected Beale as her replacement. As Deputy Director, Beale reported directly to
12   the City Clerk and was responsible for supervising the records and imaging department
13   staff, including Johnson.
14         14.    But even after being promoted to Deputy Director, Beale continued to
15   demonstrably and vocally profess her religious beliefs at work. She led 'prayer sessions'
16   during staff meetings, extolled her employees to attend church, and inquired about
17   individuals' religious affiliations. Although uncomfortable, Johnson bowed his head and
18   sat quietly during Beale's prayers, indulging her need for religious rituals as they tended
19   to keep her in a positive frame of mind.
20         15.    Johnson also did his best to ignore Beale's derogatory comments about his
21   own personal beliefs, or at least her perception of them. These comments, often made in
22   front of his co-workers and subordinates, include telling him at a staff meeting in
23   February 2009 that he and his significant other did not have a "blessed" relationship
24   because they weren't "married under the Lord."
25         16.    Johnson received another promotion to Records and Imaging Supervisor in
26   2013. Though he received an increase in pay, and increased responsibilities, the other
27   aspects of his job remained the same and he continued to report to Deputy Director Beale.
28   Working out of the City's Government Administration Building in Downtown San

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 1   Diego, Johnson oversaw a professional staff of approximately six employees, as well as
 2   everyone assigned to the City Clerk's office through the City's volunteer program.
 3           17.   But despite his professional success, Johnson felt increasingly marginalized
 4   and stigmatized by Beale's hostile comments about religion, prompting him to apply for a
 5   job with the City of Chula Vista in 2013. Chula Vista ranked his application 13th out of
 6   more than 500 applicants and invited him for an interview. To Johnson's surprise, Beale
 7   sat on Chula Vista's Civil Service Commission and was thus part of the hiring panel.
 8   Chula Vista did not offer Johnson the position. Following this interview process, Beale's
 9   derogatory comments toward Johnson regarding religion increased in both frequency and
1o   intensity.
11           18.   In December 2013, while meeting with Johnson for his one-on-one
12   performance review, Beale warned him that he better start reading his bible, because
13   "even good people go to hell if they don't give their life to the word of God."
14           19.   In November 2014, Beale told one of Johnson's direct reports not to follow
15   Johnson's directives because he was a "non-believer."         This undermined Johnson's
16   ability to effectively lead his team and carry out his Supervisory duties.           It also
17   represented the first step in Beale's campaign to force him out of the City Clerk's office.
18           20.   After Johnson took a brief bereavement leave in December 2014, Beale
19   called him into her office, told him to "seek the word of God" and asked him to pray with
20   her before resuming his job duties.      Johnson told Beale he was uncomfortable and
21   politely declined her request to pray.
22           21.   Following this incident, Beale sought to reassert her dominance and control
23   by assigning Johnson to perform menial tasks outside his job description. For example,
24   on July 25, 2015, Beale directed Johnson to extract hundreds of archived records from the
25   storage facility basement for scanning, even though this task is one historically performed
26   by Records Stock Clerks, the same entry-level position Johnson held when first hired in
27   2004.
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 I          22.      A few days later, on July 27, 2015, Beale announced the Department would
 2   be holding a "Christmas Celebration, not a winter celebration," and anyone that didn't
 3   like it, shouldn't attend. Although she addressed her comment to a group of employees,
 4   it was meant for Johnson, which she confirmed the following day when she lashed out at
 5   him in front of his co-workers and subordinates, saying he was not "blessed" and had "no
 6   credibility."
 7          23.      On August 20, 2015, Beale directed Johnson to perform physical labor,
 8   moving heavy cabinets, shelving units, boxes, tables, and wood pallets out of the City's
 9   storage facility in preparation for painting. This required Johnson to use power tools and
1O   other equipment he had not been trained on, and resulted in him cutting his hand, tearing
11   his dress pants, and inhaling significant amounts of dust.          Based upon Beale's
12   increasingly hostile comments about Johnson, attempts to undermine his authority with
13   his staff, and assignment of menial and/or dangerous tasks, Johnson decided he could not
14   keep quiet any longer and sought assistance from his labor union, the San Diego
15   Municipal Employees Association ("MEA").
16         24.       MEA filed a grievance on behalf of Johnson and two other employees, with
17   the City's Human Resources Department on September 9, 2015. The grievance alleged
18   Beale had created a hostile work environment, harassed, and discriminated against
19   Johnson and the other two employees.         The City initiated a fact-finding process on
20   September 27, 2015 and referred the alleged EEOC violations to its Equal Employment
21   Investigation Department.
22         25.       Although the City told Beale about Johnson's grievance, it took no known,
23   or meaningful measures, to protect Johnson from Beale's retaliatory treatment. It did not
24   place her on paid leave, offer Johnson a temporary assignment, or change his supervisor
25   to someone other than Beale. Accordingly, in October 2015, while the investigation was
26   still pending, Beale removed Johnson's supervisory duties, reassigned his staff to another
27   manager, and excluded him from projects that would normally fall within his job
28   description.

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     1          26.    For example, upon receiving complaints from the City Attorney's Office that
 2       inactive records were not being picked up, Johnson intervened - offering to process the
 3       backlog and ensure the records were properly scanned and copies delivered to the
 4       appropriate parties.   Beale, however, told him the records center was no longer his
 5       responsibility and directed him not to process the inactive records. She also prohibited
 6       him from assisting with the City's electronic records database, directing employees to
 7       contact the independent software vendor even though Johnson was fully trained and
 8       capable of handling the technical issues in-house.
 9              27.    The City concluded its investigation of Johnson's grievance after a six-
10       month investigation. It sent Johnson a letter dated March 28, 2016, which said the
11       investigation had found sufficient evidence to support Johnson's allegations, confirming
12       the veracity of his complaints regarding Beale's misconduct. The letter did not address
13       what, if anything, the City would do to correct her conduct or protect Johnson from
14       further retaliation.
15              28.    On April 21, 2016, the City's Human Resources Director, Judy von
16       Kalinowski, told Johnson's MEA representative, Kelley Cruz, that transferring Johnson
17       to a different department was the only solution the City could offer.      According to
18       Kalinowski, this was being done as "a favor" to Johnson because, otherwise, he'd have to
19       continue working for Beale.
20             29.     Former Deputy Director Kathryn Joy unexpectedly called Johnson three
21       days later. She said she had heard he was being forced out of the Clerk's Office and
22       called to console and encourage him to give the new position a try.
23             30.    Johnson heeded Joy's advice and excelled in his new role, despite the
24       undesirable conditions in which he now had to work.            As Records and Imaging
25       Supervisor, Johnson managed a team of employees and worked in an air-conditioned,
26       professional office in downtown San Diego among a diverse group of City employees,
27       including the City Clerk and other high-ranking City Officials. He now has no job title,
28       reports to a Program Manager instead of a Deputy Director, and works in a hot, dirty,

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 1   industrial yard in East San Diego with approximately 100 other men and dangerous
 2   materials, including canisters of methane.
 3           31.     Johnson used to look at the City's official seal as a source of pride and
 4   inspiration but now its maxim, Semper Vigilans ("ever vigilant"), seems ironic and
 5   hypocritical. Johnson had done everything in his power to stem Beale's inappropriate
 6   conduct: participating in mediation, ignoring her derogatory comments, and avoiding
 7   unnecessary interactions.      But Beale persisted.    Even after the City's investigation
 8   confirmed Beale had engaged in unlawful conduct, it took no action against her and,
 9   instead, stripped Johnson of his Supervisor job title and transferred him to a remote job-
10   site.
11           32.     Ms. Beale continues to make derogatory comments about Johnson to City
12   officials and he has been directed not to discuss the reasons for his transfer to the Public
13   Utilities Department. As a result, his new supervisor and other City managers believe he
14   was transferred for disciplinary purposes. Despite Johnson's more than 12-years' of
15   outstanding job performance he now struggles under a tarnished reputation to salvage his
16   once prom1smg career.
17                                       First Cause of Action
18                          Religious Discrimination [42 U.S.C. § 2000e-2)
19           33.     Plaintiff incorporates paragraphs 1 through 32 by reference, as if fully set
20   forth herein.
21           34.     Title VII of the Civil Rights Act of 1964 ("Title VII") prohibits employers
22   from discriminating against an individual "with respect to his compensation, terms,
23   conditions, or privileges of employment, because of his ... religion." 42 U.S.C. § 2000e-
24   2(a)(l). It is also unlawful for employers to "limit, segregate, or classify ... employees.
25   ..   in any way which would deprive or tend to deprive any individual of employment
26   opportunities or otherwise adversely affect his status as an employee." 42 U.S.C. §
27   2000e-2(a)(2).
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 1         35.     The City of San Diego is engaged in an industry affecting commerce and
 2   employs more than fifteen persons. Accordingly, it is an "employer" under Title VII. 42
 3   U.S.C. § 2000e(b). Deputy Director Beale acted as The City's agent with regard to the
 4   events and circumstances relevant to this complaint.
 5         36.     Johnson has maintained an exemplary employment record over his 12+
 6   years as a City Employee, including positive job performance assessments, promotions,
 7   and raises.
 8         37.     Beale's repeated questions, comments, and derogatory remarks about
 9   Johnson and his religious beliefs evidence her perception that Johnson is a "non-
1O   believer," or at least does not share her faith. Based on this perception, Beale initiated a
11   series of escalating adverse employment actions against him - encouraging subordinates
12   to refuse to follow his directives, telling co-workers he is not a "man of God" and lacks
13   credibility, assigning him to perform menial tasks outside his job description, stripping
14   him of all supervisory duties, and marginalizing his role in the Department.
15         38.     Despite its investigative findings, which confirmed Beale had engaged in the
16   alleged misconduct, the City took no disciplinary action against her and, instead, gave
17   Beale what she wanted by transferring Johnson out of her Department, removing him
18   from a management position, and requiring him to work in a hot, dirty, industrial yard on
19   the city's eastern boundary with Lemon Grove.
20         39.     As a result of Defendant's conduct, Johnson has suffered and continues to
21   suffer economic losses, including harm to his professional reputation, lost earning
22   capacity, and impaired chances for advancement. He has also suffered non-pecuniary
23   harm, including emotional pain, suffering, inconvenience, mental anguish, and loss of
24   enjoyment of life.    Johnson also seeks to recover legal fees and costs incurred in
25   attempting to remedy Defendant's unlawful conduct pursuant to 42 U.S.C. § 2000e-5(k).
26   Ill
27   Ill
28   Ill

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 1                                      Second Cause of Action
 2                         Hostile Work Environment [42 U.S.C. § 2000e-2]
 3          40.      Plaintiff incorporates paragraphs 1 through 39 by reference, as if fully set
 4   forth herein.
 5         41.       Under Title VII, an employer has an affirmative obligation to maintain a
 6   work environment free of harassment, intimidation and repeated insult. This includes
 7   quid pro quo and hostile work environment harassment.
 8         42.       Beale's persistent questions, comments, and discussion of religion, including
 9   leading group prayer at staff meetings and making derogatory remarks about Johnson
10   being a "non-believer," and thus untrustworthy, are not only offensive and inappropriate
11   for the workplace, they have deleteriously impacted Johnson' job, career, and
12   professional reputation.
13         43.       Beale's comments about religion occurred on an almost daily basis from
14   2008 until the City transferred Johnson from the City Clerk's office to the Chollas
15   Operations Yard in April 2016 due to the severity and pervasiveness of her harassment.
16         44.       Because Beale was Johnson's direct supervisor, the City is vicariously liable
17   for the harassment and resulting tangible employment actions taken against Johnson,
18   including her undermining his authority with subordinates, removing his supervisory
19   duties, and assigning him to perform manual labor and menial tasks outside his job
20   description.      Moreover, after Johnson reported the harassment and the City's
21   investigation confirmed Beale had engaged in the alleged misconduct, it refused to
22   restore his Supervisor job-title, reassigned him to a remote worksite, and directed him to
23   keep the reason for his transfer a secret, even from his new manager.
24         45.       As a result of Defendant's conduct, Johnson has suffered and continues to
25   suffer economic losses, including harm to his professional reputation, lost earning
26   capacity, and impaired chances for advancement. He has also suffered non-pecuniary
27   harm, including emotional pain, suffering, inconvenience, mental anguish, and loss of
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 1   enjoyment of life.       Johnson also seeks to recover legal fees and costs incurred in
 2   attempting to remedy Defendant's unlawful conduct pursuant to 42 U.S.C. § 2000e-5(k).
 3                                      Third Cause of Action
 4                                 Retaliation [42 U.S.C. § 2000e-3J
 5          46.     Plaintiff incorporates herein by reference paragraphs 1 through 45, as if fully
 6   set forth herein.
 7          47.     Title VII also prohibits employers from retaliating against an employee for
 8   engaging in protected conduct. (42 U.S.C. § 2000e-3(a).)
 9          48.     Johnson engaged in protected conduct when he opposed Beale's efforts to
10   inject her religious beliefs into the workplace by refusing to pray with her or follow her
11   directive to "get back to church." He also engaged in protected conduct when he filed the
12   grievance regarding Beale's discriminatory and harassing behavior, and participated in
13   the ensuing investigation.
14          49.     Less than a month after Johnson filed his September 9, 2015 grievance, and
15   despite his consistently positive job performance, Beale removed his supervisory duties,
16   reassigned his staff to other managers, and directed him to perform menial tasks and
17   physical labor, including cleaning up bags of shredded records and preparing the storage
18   facility for painting.
19          50.     Although Beale told Johnson his changed role was the result of
20   "restructuring," she was unable to provide any reason why such restructuring was
21   necessary, or why it only impacted Johnson. In reality, Beale took these actions in
22   retaliation for Johnson's grievance, in an effort to marginalize, ostracize, and force his
23   resignation.
24          51.     As a result of Defendant's conduct, Johnson has suffered and continues to
25   suffer economic losses, including harm to his professional reputation, lost earning
26   capacity, and impaired chances for advancement. He has also suffered non-pecuniary
27   harm, including emotional pain, suffering, inconvenience, mental anguish, and loss of
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     Case 3:17-cv-00410-L-NLS Document 1 Filed 02/28/17 PageID.12 Page 12 of 13




 1   enjoyment of life.   Johnson also seeks to recover legal fees and costs incurred in
 2   attempting to remedy Defendant's unlawful conduct pursuant to 42 U.S.C. § 2000e-5(k).
 3

 4                                     PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff Rasean Johnson requests a jury trial and entry of
 6   judgment against Defendant as follows:
 7         1.    For back-pay and front-pay, according to proof;
 8         2.    For damages to plaintiff's professional reputation;
 9         3.    For compensatory damages, including emotional pain and suffering, mental
10   anguish, and loss of enjoyment;
11         4.    For injunctive and declaratory relief;
12         5.    For attorney fees and costs;
13         6.    For prejudgment interest on all amounts claimed; and
14         7.    For any other and further relief that the court considers proper.
15

16   Dated: February 28, 2017              SMITH, STEINER, VANDERPOOL
17                                                 &WAX,APC
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19                                         By:     Is Jon Vanderpool
20                                                Jon Y. Vanderpool
                                                  Email: jvanderpool@ssvwlaw.com
21
                                                  Jon Cadieux
22                                                Attorneys for Plaintiff
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 JS 44 (Rec. 12A2)                                                           CIVIL COVER SHEET
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 I.(a) PLAINTIFFS
 RASEAN JOHNSON                                                                                                                              and DOES 1 through 5, inclusive


    (b) County ofResidence ofFirst Listed Plaintiff SBn DiBgo                                                 County of Residence ofAirst Listed DeYendant  Sen Diego
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 Jon Y. Vanderpool, Esq./Jon Cadieux, Esq.
 Smith, Steiner, Vanderpool &Wax             (619) 239-7200
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O 795 Contract &oduct LiabiliTy       ❑ 360 Otha Pusonal                     Property Damage      ❑ 740 Rsilway Labor Act              O 865 RSI(405(8))           O 893 Evvironmevtal Manes
O 196 Francldse                               ivjury                   O 385 Property Damagn      O 751 Family aid Medical                                         O 895 Freedom ofInfonnetion
                                      ❑ 362 Pereonai ljury-                 Pmdm[ Liability              Leeve Act                                                        Act
                                              Medical Mel ractia                                  ❑ 7900[fier Labor Litigation                                     O 696 Arbiha6on
               ,RO~lRilEY:'!,4s~N. (.r1„ ~tCiiX~i{5t]it'tII; ' ~       ,. 8                   "S'..0791 Employee Reliremavt              HikDL ` ,%t            S `O 699 Ad~nutisva[1ve Pmcedu~e
O 210 Land Condemnation               O 440 Other Cicil Rights          Rabeas Corpus:                  Income Seciv~ty Act            O 870 Taxes(ll.S. Plaimiff        Acl/Review or Appeal of
O 220 Foreclosure                     ❑ 447 Voting                    O 463 Alien Detainee                                                    or Defendant)              Agency Decision
O 230 Aen[ Lease & Ejechnent          ffi 442 Employment              O 510 Motlons ro Vacate                                          O 871 IRS-77tird Pasty      ❑ 950 Cmstim[ionality of
O 240 Torts to Laad                   O 443 Houamg/                          Sentence                                                         26 USC 7609               State SteNtes
0 245 Tort RodmtLiabiliry                     Awommodefione           ❑ 530 Grneral
O 290 All Other Real Property         ❑ 445 Amcr. w/Disabilities -    O 535 Death Penalty                  N,}p71,6     ~Q,\,
                                             Employment                 Other:                      0462 Namraliza[ion Application
                                      O 44fi Amer. w/Disabiliries -   O 540 nAandamve &Other        O 465 Otter Immfe~rzation
                                             OMer                     ❑ 550 Civil Rights                  Acfione
                                      O A48 Edi¢ation                 O 555 flisoo Covditlon
                                                                      D Sfi0 Civil Detainee-
                                                                            Conditlonsaf
                                                                            Confinement
V. ~~~'sTl~(Place an "X'in One Box Only)
~(1 Original     O 2 Removed From                        ❑ 3          Remanded from          Q A Reinstated or         ❑ 5 Tra~sfrrred from           O 6 Multidfshict
    Proceeding         State Court                                    Appellate Court            Reopened                  Another District               Litigation

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VI. CAUSE OF ACTION
                                         grief descrfotlon ofcause:
                                        ~ Religious Discrimination; Hostile Work Environment; Retaliation
VII. REQt7ES'tE~ IN                      0 CHECK IP TL',IS IS A CLASS ACTION                           DEMAND $                                   CHECK YPS oily ifdemanded in complaint:
     COMPLAINT:                            ~?NDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:       ~ Yes      O No
VIII. RELATED CASES)
        ~ ANY                               (See insn~uctionsJ:
                                                                      JUDGE                                                               DOCKET NOMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/28/2017                                                             /s/ Jon Y. Vanderpool
FOR OFFICE USE ONLY

  RECEIPT#                       AMOUNT                                     APPLYMGIFP                                    JUDGE                                MAG.IUDGE
